






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-02-00730-CR







Thomas Allen Gage, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 264TH JUDICIAL DISTRICT


NO. 52,826, HONORABLE JOE CARROLL, JUDGE PRESIDING







Thomas Allen Gage seeks to appeal from a judgment of conviction for evading arrest
with a motor vehicle.  Sentence was imposed on March 4, 2002.  The deadline for perfecting appeal
or filing a motion for new trial was therefore April 3, 2002.  Tex. R. App. P. 21.4(a), 26.2(a)(1). 
Gage filed his combined motion for new trial and notice of appeal on November 5, 2002.  Under the
circumstances, we lack jurisdiction to dispose of the purported appeal in any manner other than by
dismissing it for want of jurisdiction.  See Slaton v. State, 981 S.W.2d 208 (Tex. Crim. App.1998);
Olivo v. State, 918 S.W.2d 519, 522-23 (Tex. Crim. App. 1996).  Gage may seek an out-of-time
appeal by means of a post-conviction application for writ of habeas corpus.  See Tex. Code Crim.
Proc. Ann. art. 11.07 (West Supp. 2003).


The appeal is dismissed.



				__________________________________________

				Marilyn Aboussie, Chief Justice

Before Chief Justice Aboussie, Justices Patterson and Puryear

Dismissed for Want of Jurisdiction

Filed:   December 12, 2002

Do Not Publish


